                Case 1:22-mj-00140-RMM Document 8-1 Filed 06/29/22 Page 1 of 3




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                                                SupnEMEJuorcrAL Counr




                                  Cert{tcdt e of $ oo[ Sunfing

           I,   ful-attfiew lE. Aotkcfr" (E4ecutiae Cter(. of tfre Supreme         lu[iciaf Court,   fiere61

certify tfrat futfiert A. Levine, tEsq. (cBar *OOSS+S) of ceortfan[, totE was [u$ admittef

as an     flttornel an[          Counsefor at   Law in tfie State of gvtaine on Septem\er 30,   1988,   an[
is   present$ registere[ anfin goof stan[ing as anflctive fusi[ent member of tfre 6ar.

           Qfuen un[er m1 frand         an[ tfie Sea[ of saif Court   on   lune 29, 2022.




                                                       fulatthew E. Aotkcfr
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                  Case 1:22-mj-00140-RMM Document 8-1 Filed 06/29/22 Page 2 of 3

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Daniel J. Stevens, Esq.                                                                                                   David C. Morse, Esq.

                                                                            June29,2022



      To Whom It May Concern:

             Please be advised that according to the registration records of Maine's Board of Overseers of the
      Bar, Robert A. Levine, Esq. (BarNo. 003845) is presently registered and in good standing with the Board
      of Overseers of the Bar as an active practitioner.

             The Board's records further indicate the following public sanction and disciplinary record for
      Robert A. Levine, Esq.:

                                 Admonitions:                              NONE
                                 Reprimands:                               NONE
                                  Suspensions:                             NONE
                                 Disbarments:                              NONE
                                 Pending Charges:                          NONE

               Please contact us       if you need further       assistance.

                                                                            Sincerely,


                                                                         Vilahrza,         /a&,,{a/o
                                                                           Melissa Littlehale, J.D.
                                                                           Board Clerk




                                Fee   Arbitration commission. Grievance commission . Professional Ethics commission
                       Case 1:22-mj-00140-RMM Document 8-1 Filed 06/29/22 Page 3 of 3
From : recei pts@ lawpav.co m < rece i pts (o awpav.co m>
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